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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                  CLERK OF COURT

Date: February 24, 2023                                      DC Docket #: 19-cv-2917
Docket #: 23-52cv                                            DC Court: EDNY (BROOKLYN)
Short Title: Redd v. City of New York                        DC Judge: Dearie
                                                             DC Judge: Merkl



                         NOTICE OF CASE MANAGER CHANGE

The case manager assigned to this matter has been changed.

Inquiries regarding this case may be directed to 212-857-8543.
